       2:17-cr-20037-JES-JEH # 45        Page 1 of 34                                       E-FILED
                                                               Monday, 15 January, 2018 02:40:39 PM
                                                                       Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
vs.                                      )         Crim. No. 17-20037
                                         )
BRENDT A. CHRISTENSEN,                   )
                                         )
      Defendant.                         )

                   MOTION TO BAR AND SUPPRESS IDENTIFICATION
                           TESTIMONY AND EVIDENCE

      Now comes the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and pursuant to Rule 12(b)(3)(C), Fed.R.Crim.P., and Rules 401, 403, and

404(b), Fed.R.Evid., moves this Court for the entry of an Order barring and suppressing

certain identification testimony and evidence of a witness identified herein as “EH”

whom the Government may call to testify against the Defendant at the trial of this

cause, and in support thereof states as follows:

                                  Factual Background

      1.     On June 9, 2017, at approximately 9:27 a.m., a female graduate student at

the University of Illinois at Champaign-Urbana, (hereinafter referred to as “EH”),

telephoned the University of Illinois Police Department on its non-emergency number

to report “suspicious activity” she witnessed on Stoughton Street, between Busey

Avenue and Lincoln Avenue, in Urbana, Illinois. According to EH, just minutes earlier,


                                             1
       2:17-cr-20037-JES-JEH # 45       Page 2 of 34



while walking eastbound on Stoughton toward a bus stop, she was approached by a

man driving a black sedan who showed her a badge that was on a chain that he pulled

out of his shirt and claimed to be an “undercover cop” who was “doing some

undercover work in the area.” EH told the police dispatcher that the man asked if he

could ask her a few questions, and she replied, “yes.” The man then asked her to get in

his car, and EH said “no.” The man then said, “Okay, well, I just wanted to ask you if

you had seen anything strange in the area to give the police a call,” and EH replied,

“Okay,” and the man drove away.

      2.     On June 12, 2017, at approximately 6:20 p.m., EH was summoned to the

University of Illinois Police Department where she met with Officer Hurless and FBI

Agent Tenaglia who interviewed her about the “suspicious activity” call she had made

to the police on June 9. During the interview, EH told Officer Hurless and Agent

Tenaglia that on June 9, 2017, at approximately 9:30 a.m., she had parked her car on

Stoughton and was walking toward a bus stop when a man, who was driving

eastbound on Stoughton, pulled up and said, “excuse me.” EH said that the man was

leaning over in his car and was wearing a “sheriff’s star” on a chain that was around his

neck. The man stated, “I’m an undercover cop, working in the area, I was wondering if I

could ask you a few questions.” EH walked up to the car, and the man repeated what

he had said. EH said yes, she would answer questions. The man asked her to get in the

car, and she said no and began to walk away. The man stated that if she saw anything



                                            2
          2:17-cr-20037-JES-JEH # 45         Page 3 of 34



suspicious she should call the police and drove away. EH could not recall which way

the man drove off.

          3.   EH described the man as a white male, in his early 30’s, clean shaven,

clear complexion, wearing dark aviator style sunglasses, a black shirt, dark short hair

(not military style), no tattoos, and no earrings. She described the badge as a “sheriff’s

star” with black leather backing.

          4.   EH described the car as a black, four door sedan. She did not know its

make or model, nor could she recall anything distinctive about the vehicle in regards to

damage, bumper stickers, or registration information.

          5.   On June 14, 2017, at approximately 7:49 p.m., EH was summoned to the

FBI Resident Agency Office in Champaign, Illinois, to view a photographic array

depicting six white males that was composed by FBI Agent Manganaro from drivers’

license photos pulled from the Illinois Secretary of State’s data base. Attached hereto

and marked “Exhibit 1-1 to 1-6,” are black and white copies of the six photographs that

Agent Manganaro used to compose the array. Of the six white males whose

photographs composed the array, all of the men appear to have facial hair, even though

EH described the man driving the black sedan as “clean shaven.” Included within the

array was a driver’s license photo of the Defendant as the third photo in the six photo

array.1


On December 28, 2017, Defense counsel served supplemental discovery requests upon
1

Government counsel seeking additional discovery concerning the FBI’s administration of the
photographic array used in this case. Those requests include, but are not limited to, all reports
                                                 3
       2:17-cr-20037-JES-JEH # 45         Page 4 of 34



       6.      Once EH arrived at the FBI office, she met with FBI Agents Tenaglia and

Jerge who showed her the six photos one at a time and told her to take as much time as

she needed to review the photos and to determine whether EH recognized any of the

individuals.

       7.      After viewing the six photos, EH stated that she believed that individual

#3 [the defendant] “…may have shared the most characteristics with the individual

who approached her in the car due to his short, dark hair and tan face.” EH, however,

“was not positive and could not say for certain if the individual she saw was

depicted...[because]… [i]t was difficult due to the individual wearing sunglasses at the

time.” Moreover, EH said nothing to the agents about the fact that the individual in

photograph #3 [the Defendant] clearly had facial hair, even though her earlier

description of the man she had given to the police on June 12 was that he was “clean

shaven.”

                                         Argument

       8.      This Court should bar all evidence and testimony of EH’s incident

involving the white male in the black sedan on June 9, 2017, and her examination of the

photographic array on June 14, 2017, for the simple reason that such evidence is not

relevant to any material fact or proposition in this case. EH’s utterly vague description



and memoranda relating to the FBI Agents’ compliance with the US. Dept. of Justice Eyewitness
Identification Procedures for Conducting Photo Arrays, as contained in the Memorandum of
January 6, 2017, of the Deputy Attorney General to all Heads of Department Law Enforcement
Components. As of the date of the filing of this motion, the Government’s response to those
supplemental requests remains outstanding.
                                              4
       2:17-cr-20037-JES-JEH # 45         Page 5 of 34



of the “white male in the black four-door sedan” whom she encountered on the

morning of June 9, 2017, and her selection of photograph #3 in the array because the

person depicted therein “shared the most characteristics with the individual who

approached her in the car,” is so general and nondescript as to amount to no

identification of the Defendant at all. And because such evidence does not come close to

proving that Defendant was the man who approached her in his car on June 9, it should

not be admissible as evidence at the trial of this case.

       9.     It is axiomatic that evidence is relevant and admissible if it has “any

tendency to make the existence of any fact that is of consequence to the determination

of the action more probable or less probable than it would be without the evidence.”

Rule 401, Fed.R.Evid. Relevant evidence “may be excluded if its probative value is

substantially outweighed by a danger of unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence. Rule 403, Fed.R.Evid. In United States v. Westmoreland, 312 F.3d 302, (7th Cir.

2002), the Seventh Circuit found that it was error for the district court to admit into

evidence a false letter that was purportedly authored by the defendant’s wife and

submitted at the sentencing hearing of the defendant’s earlier drug trial. According to

the Court, the relevance of the letter was questionable, given the letter’s true author was

never established, and there was no evidence that the defendant knew of or authorized

the letter being submitted to the Court in an effort or attempt to obstruct justice.

Similarly, in this case, EH’s expected testimony concerning her vague description of the

                                              5
          2:17-cr-20037-JES-JEH # 45     Page 6 of 34



white, clean-shaven male wearing dark aviator-style sunglasses and a badge who

approached her in a black, 4-door sedan, and her selection of photograph #3 (the

defendant’s) from the array because she believed that person “may have shared the

most characteristics with the individual who approached her in the car,” falls far short

in establishing that this Defendant was the individual who approached her that day and

attempted to get her into his car. And finally, whatever probative value, if any, such

evidence may have, it is substantially outweighed by the danger of unfair prejudice,

confusing the issues, and misleading the jury that would result to the Defendant if such

evidence is admitted at trial in a case where Defendant is charged with kidnapping

resulting in death. For all of these reasons, this Court should bar the Government from

making any use at trial of EH’s testimony concerning the events of June 9, 12, and 14,

2017.

          10.   In the alternative, such evidence should be suppressed because, upon

receipt of additional discovery on this matter, and as will be proven at a hearing on this

motion, both the manner in which the photographic array was composed, as well as the

manner in which it was administered and shown to EH was “so [unnecessarily]

suggestive as to give rise to a very substantial likelihood of irreparable

misidentification. “ Perry v. New Hampshire, 565 U.S. 228, 132 S.Ct. 716, 720, 181 L.Ed.2d

694 (2012); Simmons v. United States, 390 U.S. 377, 384, 88 S.Ct. 967, 19 L.Ed.2d 1247

(1968).



                                             6
       2:17-cr-20037-JES-JEH # 45          Page 7 of 34



       11.    Courts conduct a two-step inquiry in assessing the admissibility of

eyewitness identification testimony and evidence. First, courts look to whether the

identification procedure employed by the police was unduly suggestive. Secondly, if it

was, then courts determine whether the totality of the circumstances nevertheless

shows that the testimony was reliable. Perry v. New Hampshire, supra; Simmons v. United

States, supra; Neil v. Biggers, 409 U.S. 188, 198, 93 S.Ct. 375, 34 L.Ed.2d 401 (1972); United

States v. Curry, 187 F.3d 762, 768 (7th Cir. 1999).

       12.    The Supreme Court has said that “reliability is the linchpin in determining

the admissibility of identification testimony.” Manson v. Brathwaite, 432 U.S. 98, 114, 97

S.Ct. 2243, 53 L.Ed.2d 140 (1977). In assessing whether an identification was reliable, a

court should consider the following factors: (1) the opportunity of the witness to view

the criminal at the time of the crime (or prior to the identification), (2) the witness's

degree of attention during such an opportunity, (3) the accuracy of the witness's prior

description of the criminal, if he made one, (4) the level of certainty demonstrated at the

time of the identification, and (5) the time between the crime and the identification. Id.

at 114, 97 S.Ct. 2243; Curry, 187 F.3d at 768.

       13.    In United States v. Ford, 683 F.3d 761, 766 (7th Cir. 2012), the Seventh

Circuit observed that, “As awareness of the frequency of mistakes in eyewitness

identification has grown (see, e.g., Jon B. Gould & Richard A. Leo, “One Hundred Years

Later: Wrongful Convictions After a Century of Research,” 100 J.Crim. L. &

Criminology 825, 841–42 (2010); Innocence Project, “Reevaluating Lineups: Why

                                                 7
       2:17-cr-20037-JES-JEH # 45         Page 8 of 34



Witnesses Make Mistakes and How to Reduce the Chance of a Misidentification” 3–4

(2009), www. innocence project. org/ docs/ Eyewitness_ ID_ Report. pdf (visited May

31, 2012); Richard A. Wise et al., “How to Analyze the Accuracy of Eyewitness

Testimony in a Criminal Case,” 42 Conn. L.Rev. 435, 440–41 (2009); Sandra Guerra

Thompson, “Beyond a Reasonable Doubt? Reconsidering Uncorroborated Eyewitness

Identification Testimony,” 41 U.C. Davis L.Rev. 1487, 1490–91, 1497–98 (2008); Brandon

L. Garrett, “Judging Innocence,” 108 Colum. L.Rev. 55, 60 (2008); Samuel R. Gross et al.,

“Exonerations in the United States 1989 Through 2003,” 95 J.Crim. L. & Criminology

523, 542 (2005)), so has the need for judges to be especially wary about suggestive arrays

shown potential witnesses.” This is so, because“[e]ven under the best circumstances, the

probability of erroneous identification of a stranger seen briefly is uncomfortably high.”

United States v. Brown, 471 F.3d 802, 804 (7th Cir. 2006). And yet, “despite its inherent

unreliability, much eyewitness identification evidence has a powerful impact on juries.”

Watkins v. Sowders, 449 U.S. 341, 352 (1981) (Brennan, J., dissenting).

       14.    In fact, in recognition of such concerns, Deputy Attorney General Sally Q.

Yates, in her Memorandum to all heads of Department of Justice Law Enforcement

Agencies and all federal prosecutors concerning “Eyewitness Identification: Procedures

for Conducting Photo Arrays,“ issued January 6, 2017, stated, “Eyewitness

identifications play an important role in our criminal justice system, both by helping

officers and agents identify suspects during an investigation and by helping juries

determine guilt at trial. It is therefore crucial that the procedures law enforcement

                                             8
       2:17-cr-20037-JES-JEH # 45          Page 9 of 34



officers follow in conducting those identifications ensure the accuracy and reliability

of evidence elicited from eyewitnesses.” (See attached Exhibit 2-1 through 2-12)

(emphasis added). And to promote sound professional practices and consistency across

the Department’s law enforcement efforts, the memorandum outlines the various

procedures that federal law enforcement agents are required to employ in composing

and administering photo arrays in criminal investigations effective January 6, 2017. (See

attached Exhibit 2-3 through 2-8).

       15.    In this case, based on the discovery furnished to the defense by the

Government to date, it is abundantly clear that the photographic array that FBI Agent

Manganaro composed, and that Agents Tenaglia and Jerge administered to EH on June

14, 2017, was in total derogation of almost all of the procedures that the DOJ

Memorandum requires that federal law enforcement officers and prosecutors to follow

in administering photo arrays.

       16.    For example, the DOJ procedures require that when selecting a

photograph of the suspect for the photo array, the administrator should select a photo

of the suspect, and at least 5 others to fill-out the array, that resemble the witness’s

description of the perpetrator at the time of the incident, and the administrator should

avoid using a photo that is several years old or has different characteristics (e.g., hair

style or facial hair) than those described. (Proc. 2.2, 2.3).

       Here, however, while EH described the white male in the black, four door sedan

as “clean shaven,” all six of the white males appearing in the photo array are sporting

                                               9
       2:17-cr-20037-JES-JEH # 45       Page 10 of 34



noticeable facial hair. And with the black and white photos provided in discovery, none

of the photos would allow for EH or anyone else to discern the color of each

individual’s hair or tone of complexion, or the color of the background of the photo.

      17.     Secondly, the DOJ procedures require that the administrator must ensure

that he or she does not suggest to the witness- even unintentionally- which photograph

contains the image of the suspect. Oftentimes, the best and simplest way to achieve this

is by selecting an administrator who is not involved in the investigation and does not

know what the suspect looks like. But if that is not practicable, then the administrator

should adopt “blinded” procedures so that he or she cannot see the order or

arrangement of the photographs viewed by the witness or which photograph(s) the

witness is viewing at any particular moment. (Proc. 5.1-5.4).

      In this case, however, FBI agent Tenaglia was actively involved in the

investigation from its outset and knew of the Defendant’s identity at the time she

administered the array to EH, and yet she and Agent Jerge administered the photo

array to EH, and did not adopt or employ “blinded” procedures as required by the DOJ

memorandum to ensure against either or both agents from suggesting to the witness-

even unintentionally- which photograph contains the image of the suspect.

      18.    Thirdly, the procedures require that the administrator read specific

instructions to the witness using language similar as follows:




                                            10
       2:17-cr-20037-JES-JEH # 45         Page 11 of 34



             6.3.1   "In a moment, you will be shown a group of photographs. The

      group of photographs may or may not contain a photograph of the person

      who committed the crime of which you are the victim [or witness]."

             6.3.2 "Sometimes a person may look different in a photograph than

      in real life because of different hair styles, facial hair, glasses, a hat, or other

changes in appearance. Keep in mind that how a photograph was taken or developed

may make a person's complexion look lighter or darker than in real life.''

             6.3.3 "Please let me know if you recognize the person who committed

the crime [or the actions you witnessed]. If you do recognize someone, please tell me

how confident you are of your identification."

             6.3.4 "You may not recognize anyone. That is okay. Just say so.

      Whether or not you select someone, we will continue to investigate the case."

             6.3.5 "Do not assume that I know who committed this crime."

             6.3.6 "Pay no attention to any marking or numbers on the photographs

or any differences in the type or style of the photographs. They are not relevant to

identifying anyone in the photographs."

             6.3.7 "Please do not discuss this procedure or any photograph that

      you may pick with any other witness in this case."

             6.3.8   "Please let me know if you do not understand these instructions or

if you have any questions."



                                              11
       2:17-cr-20037-JES-JEH # 45         Page 12 of 34



              6.3.9 If sequential administration: "You are going to look at the

       photographs one at a time. You may make a decision at any time. If you select a

photograph before you get to the end, our protocol requires that you look at the rest of

the photographs anyway. If, after seeing all the photographs, you want to see one or

more photographs again, you should look at the entire array again."

       In this case, however, the discovery does not indicate that the Agents gave EH

any instructions at all before showing her the six photos in the array “one at a time,”

and telling her to take as much time as she needed to review the photos and to

determine whether she could recognize any of the individuals. Thus, by all indications,

EH examined the array without any of the guidance and instructions that the DOJ

requires prior to showing the witness the array, so EH could assume that the suspect’s

photo was included in the array.

       19.    Fourthly, the DOJ procedures require that if a witness makes an

identification, the administrator should ask the witness to state in his or her own words

how confident he or she is in the identification (known as a "statement of confidence'').

If the witness is vague in his or her answer, such as, "I think it's #4," the administrator

should say: "You said [I think it's #4]. What do you mean by that?" (Proc. 8.2, 8.3).

       In this case, however, EH stated that she believed that individual #3 [the

defendant] “…may have shared the most characteristics with the individual who

approached her in the car due to his short, dark hair and tan face,” but “was not

positive and could not say for certain if the individual she saw was

                                             12
       2:17-cr-20037-JES-JEH # 45       Page 13 of 34



depicted...[because]… [i]t was difficult due to the individual wearing sunglasses at the

time.” Nothing is indicated in the Government’s discovery that either agent ever asked

EH what she meant that the individual #3 “shared the most characteristics with the

individual who approached her in the car, nor did they ask her to state in her own

words how confident she was in her identification as required by the procedures.

      20.    And finally, the DOJ rules require that the witness's identification of a

photo, if any, and the corresponding statement of confidence should be clearly

documented by video- or audio-recording the photo array, or the administrator

immediately writing down as close to verbatim as possible the witness's identification

and statement of confidence, as well as any relevant gestures or non-verbal reactions.

The witness should confirm the accuracy of the statement. (Proc. 9-1.1 and 9-1.2).

      Here, again, there appears to have been no documentation by video- or audio-

recording of the photo array, nor any official report providing a verbatim statement of

the EH’s responses and statement of confidence, as well as any relevant gestures or non-

verbal reactions. Nor is there any report or documentation that EH confirmed the

agents’ account of the accuracy of her statement, as required by the DOJ procedures.

      21.    The Defendant further contends that the corrupting effect of the FBI’s

composition and administration of the photographic array to EH makes any

photographic identification by EH both unreliable and inadmissible as evidence.

      22.    Accordingly, because the Government employed a photographic array

that was both unnecessarily suggestive and conducive to give rise to a very substantial

                                           13
         2:17-cr-20037-JES-JEH # 45       Page 14 of 34



likelihood of irreparable misidentification, this Court should bar the Government from

introducing any identification testimony and evidence of EH at trial. Perry v. New

Hampshire, 132 S. Ct. 716, 724 (U.S. 2012); United States v. Ford, 683 F.3d 761 (7th Cir.

2012).

         WHEREFORE, the Defendant requests the entry of an Order suppressing:

         a.    Any and all evidence relating to the pre-trial identification of defendant

by such witnesses as were involved in the improper pre-trial identification procedures;

and

         b.    Any in-court identification of the defendant by such witnesses as were

involved in the improper pre-trial identification procedures inasmuch as such

identification is the product of the improper pre-trial identification, unless the

Government shows by clear and convincing evidence that the in-court identification is

not tainted and is fully independent of the pre-trial identification.




                                              14
      2:17-cr-20037-JES-JEH # 45     Page 15 of 34



                                Respectfully submitted,

                                BRENDT A. CHRISTENSEN, Defendant

By:   /s/Elisabeth R. Pollock                  /s/ George Taseff
      Assistant Federal Public Defender        Assistant Federal Public Defender
      300 West Main Street                     401 Main Street, Suite 1500
      Urbana, IL 61801                         Peoria, IL 61602
      Phone: 217-373-0666                      Phone: 309-671-7891
      FAX: 217-373-0667                        Fax: 309-671-7898
      Email: Elisabeth_Pollock@fd.org          Email: George_Taseff@fd.org

      /s/ Robert Tucker
      Robert L. Tucker, Esq.
      7114 Washington Ave
      St. Louis, MO 63130
      Phone: 703-527-1622
      Email: roberttuckerlaw@gmail.com




                                          15
      2:17-cr-20037-JES-JEH # 45        Page 16 of 34




                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




                                            16
2:17-cr-20037-JES-JEH # 45   Page 17 of 34




                             EXHIBIT 1-1
2:17-cr-20037-JES-JEH # 45    Page 18 of 34




                             EXHIBIT 1-2
2:17-cr-20037-JES-JEH # 45   Page 19 of 34




                       EXHIBIT 1-3
2:17-cr-20037-JES-JEH # 45   Page 20 of 34




                             EXHIBIT 1-4
2:17-cr-20037-JES-JEH # 45   Page 21 of 34




                         EXHIBIT 1-5
2:17-cr-20037-JES-JEH # 45   Page 22 of 34




                         EXHIBIT 1-6
2:17-cr-20037-JES-JEH # 45    Page 23 of 34




                             EXHIBIT 2-1
2:17-cr-20037-JES-JEH # 45    Page 24 of 34




                             EXHIBIT 2-2
2:17-cr-20037-JES-JEH # 45   Page 25 of 34




                         EXHIBIT 2-3
2:17-cr-20037-JES-JEH # 45   Page 26 of 34




                         EXHIBIT 2-4
2:17-cr-20037-JES-JEH # 45   Page 27 of 34




                         EXHIBIT 2-5
2:17-cr-20037-JES-JEH # 45   Page 28 of 34




                        EXHIBIT 2-6
2:17-cr-20037-JES-JEH # 45   Page 29 of 34




                        EXHIBIT 2-7
2:17-cr-20037-JES-JEH # 45   Page 30 of 34




                        EXHIBIT 2-8
2:17-cr-20037-JES-JEH # 45   Page 31 of 34




                        EXHIBIT 2-9
2:17-cr-20037-JES-JEH # 45   Page 32 of 34




                        EXHIBIT 2-10
2:17-cr-20037-JES-JEH # 45   Page 33 of 34




                       EXHIBIT 2-11
2:17-cr-20037-JES-JEH # 45   Page 34 of 34




                        EXHIBIT 2-12
